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     Attorney for defendant Michael William McGibbon
 5

 6
                                  UNITED STATES DISTRICT COURT
 7

 8
                                 EASTERN DISTRICT OF CALIFORNIA

 9

10

11   UNITED STATES OF AMERICA,                         Case No.: 2:15-cr-00131 TLN

12
                    Plaintiff,
13
     vs.                                               STIPULATION REGARDING
14

     MICHAEL WILLIAM MCGIBBON,                         CONTINUANCE OF SENTENCING;
15

16                                                     ORDER
                    Defendant
17

18

19

20                                           STIPULATION

21          Plaintiff United States of America, by and through its counsel of record, and defendant,
22
     by and through defendant’s counsel of record, hereby stipulate as follows:
23
            1. By previous order, this matter was set for sentencing on December 14, 2017.
24

25          2. By this stipulation, the parties now move to continue sentencing until March 22, 2018,
26   and to set the following briefing schedule regarding the presentence report:
27
            a) Reply, or Statement of Non-Opposition on or before March 15, 2018;
28
     STIPULATION REGARDING CONTINUANCE OF SENTENCING; ORDER - 1
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 1          b) Motion for Correction of the Presentence Report shall be filed with the Court and
 2
     served on the Probation Officer and opposing counsel no later than March 1, 2018;
 3

 4
            c) The final Presentence Report shall be filed with the Court and disclosed to counsel no

 5   later than February 22, 2018; and

 6
            d) Counsel’s written objections to the Presentence Report shall be delivered to the
 7
     Probation Officer and opposing counsel no later than February 8, 2018.
 8

 9          3. The parties agree and stipulate that this continuance will provide both parties

10   additional time to prepare for sentencing by, inter alia, researching issues pertinent to making a
11
     recommendation to the Court for a proposed sentence.
12
            Probation has been notified and is in agreement of these new times and dates.
13

14

15   IT IS SO STIPULATED.                            PHILLIP A. TALBERT
                                                     United States Attorney
16   Dated: November 14, 2017
17
                                                     /s/ Samuel Wong
18                                                   SAMUEL WONG
                                                     Assistant United States Attorney
19

20                                                ORDER
21
     IT IS SO ORDERED this 17th day of November, 2017.
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23

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25
                                                      Troy L. Nunley
26                                                    United States District Judge
27

28
     STIPULATION REGARDING CONTINUANCE OF SENTENCING; ORDER - 2
